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            EXHIBIT 95
   Unredacted Version of
Document Sought to be Sealed
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1                    UNITED STATES DISTRICT COURT
2                 NORTHERN DISTRICT OF CALIFORNIA
3
4    IN RE:     FACEBOOK, INC.,                MDL No. 2843
5    CONSUMER USER PROFILE                     Case No.
6    LITIGATION                                18-md-02843-VC-JSC
     ___________________________
7    This document relates to:
8    ALL ACTIONS
     ____________________________
9
10                           **CONFIDENTIAL**
11
12            ZOOM DEPOSITION OF FACEBOOK's 30(b)(6)
13          CORPORATE REPRESENTATIVE - MICHAEL DUFFEY
14   (Reported Remotely via Video & Web Videoconference)
15        Palo Alto, California (Deponent's location)
16                      Wednesday, June 2, 2022
17                                 Volume I
18
19   STENOGRAPHICALLY REPORTED BY:
20   REBECCA L. ROMANO, RPR, CSR, CCR
21   California CSR No. 12546
22   Nevada CCR No. 827
     Oregon CSR No. 20-0466
23   Washington CCR No. 3491
24   JOB NO. 5234611
25   PAGES 1 - 194

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1                    UNITED STATES DISTRICT COURT
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     IN RE:     FACEBOOK, INC.,                MDL No. 2843
4    CONSUMER USER PROFILE                     Case No.
     LITIGATION                                18-md-02843-VC-JSC
5    ___________________________
6    This document relates to:
7    ALL ACTIONS
8
     ____________________________
9
10
11
12
13
14
15                DEPOSITION OF MICHAEL DUFFEY, taken on
16   behalf of the Plaintiffs, with the deponent located
17   in Palo Alto, California, commencing at
18   9:14 a.m., Wednesday, June 3, 2022, remotely
19   reported via Video & Web videoconference before
20   REBECCA L. ROMANO, a Certified Shorthand Reporter,
21   Certified Court Reporter, Registered Professional
22   Reporter.
23
24
25

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1                           APPEARANCES(cont'd)
2    (All parties appearing via Web videoconference)
3
4    ALSO PRESENT:
5            Ian Chen, Associate General Counsel,
6    Meta Platforms
7            John Macdonell, Videographer
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1




                                                               10:05:06

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1             Q.   What is the law enforcement response         10:05:07

2     team?

3             A.   That -- that team is -- is -- receives

4     subpoenas and requests from law enforcement

5     regarding individual users at Facebook.                   10:05:31

6




8                  MR. FALCONER:   Objection.     Beyond the

9     scope of the notice.

10                 And, Mr. Duffey, again, I'll just caution    10:05:49

11    you:     Don't reveal any privileged communications

12    you may have had in the course of your work at the

13    company in answering that question.

14




                                                                10:07:07

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20              MR. FALCONER:     Objection.     Beyond the     10:08:42

21    scope of the notice.

22

23         Q.   (By Ms. Weaver)     Who would know?

24              MR. FALCONER:     Same objection.

25              THE DEPONENT:     Somebody -- somebody on       10:09:03

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1




17            Q.   And when you say "groups," what do you

18    mean?

19            A.   Facebook groups.

20            Q.   And can you state for the record what        10:47:44

21    Facebook groups are?

22            A.   Sure.   I'm sorry.

23            Q.   No problem.

24            A.   A group is -- how would I -- if you have

25    an interest in a specific topic, for instance,            10:48:05

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1    surfing, there could be a group established or --         10:48:10

2    or created or in existence that is related to

3    surfing that you could, you know, join and interact

4    with others that are not necessarily your -- or not

5    your friends, but people that have the same level         10:48:29

6    of interest.

7              So that is the -- a way to interact

8    outside of your network of -- of friends.

9




                                                               10:49:49

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1          A.     I -- I could find out that information.          11:01:05

2     I just don't know that sitting here.          Counsel for

3     Gibson Dunn could -- could also get that

4     information.       Our E-discovery team would know.      I

5     just -- I just don't know the answer to that                 11:01:17

6     question as I sit here.

7          Q.     Okay.

8                 And do you see that in your notes here,

9     you refer to "TAO," the associations and objects

10    database?                                                    11:01:41

11         A.     Yes.

12         Q.     Is it fair to call it a database?

13         A.     I don't know.     I don't know if it would

14    be called a database.

15         Q.     Let's call it a data source.        Fair         11:01:53

16    enough.

17




                                                                   11:02:53

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5          Q.   And do you see on page -3258 you've got a       11:03:28

6     heading "Facebook can remove objects and

7     associations," and then there's a bullet point that

8     says "Facebook deprecates products and features,

9     and objects and associations would be deleted when

10    this happens"?                                            11:03:51

11              Do you see that?

12         A.   Yes.

13         Q.   What does "deprecate" mean, for the

14    record?

15         A.   No longer available for use.                    11:04:05

16




                                                                11:04:46

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1            Q.   Can you identify which data in Hive was       11:09:42

2     placed on legal hold for this case?

3            A.   No, I can't.

4            Q.   Can anyone?

5            A.   Can you -- can we go back two questions       11:10:09

6     ago?    Just so I -- I understand the question.

7            Q.   Yeah.   No problem.

8                 Let me try it this way.     Was any data in

9     Hive placed on legal hold for this case?

10           A.   Yes.                                          11:10:33

11




                                                                11:11:53

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